                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                         )
Husband and Wife,                                        )
                                                         )
         Plaintiffs,                                     )       Civil Action No.: 3:17-cv-00725
                                                         )
v.                                                       )       Jury Demand
                                                         )
DR. CLARK ARCHER and HCA HEALTH                          )       Judge Campbell
SERVICES OF TENNESSEE, INC. d/b/a                        )       Magistrate Judge Newbern
STONECREST MEDICAL CENTER,                               )
                                                         )
         Defendants.                                     )

     PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION IN LIMINE #8 (OMNIBUS)

         The Plaintiffs respond as follows to the Defendant’s Motion in Limine #8 (Omnibus

 Motion):

         1. Excluding All Witnesses Not Properly Disclosed.

         The Plaintiffs agree with this aspect of the Motion in general, but ask that (1) it also be

 applied to the Defendant and (2) that the Court reserve ruling on whether the adverse party had

 fair notice of a particular witness, until the specific context arises.

         2. Excluding Evidence of the Defendant’s Liability Insurance.

         The Plaintiffs agree with this aspect of the Motion at this time. However, Plaintiffs note

 that Rule 411 permits evidence of liability insurance to be used for purposes other than to prove

 negligence. Should Plaintiffs identify a need to present evidence of Defendant’s liability insurance

 for a purpose permitted by Rule 411, Plaintiffs will notify the Defendant and the Court and seek

 permission – outside the jury – to present any such evidence.

         3. Sequestration of Witnesses.

         The Plaintiffs agree with this aspect of the Motion as it relates to non-party witnesses.



 Case 3:17-cv-00725          Document 134          Filed 12/21/18          Page 1 of 6 PageID #: 1792
       4. Information About Defense Counsel’s Law Firm.

       Plaintiffs agree that information about Defense Counsel’s law firm should not be admitted

into evidence. However, Plaintiffs oppose this aspect of the Motion as it relates to voir dire. The

Plaintiffs may need to reference some information about Defense Counsel’s law firm to assess

whether potential jurors have a relationship with a lawyer associated with that firm.

       5. Respective Pecuniary Condition of the Parties.

       The Plaintiffs agree with this aspect of the Motion at this time. Should Plaintiffs identify a

need to present evidence suggesting or relating to the Parties’ pecuniary condition, Plaintiffs will

notify the Defendant and the Court and seek permission – outside the jury – to present any such

evidence.

       6. Requiring Participation of All Counsel at Every Phase of Trial.

       The Plaintiffs oppose this Motion at this time, as this issue is already covered by Local

Rule 39.01. Plaintiffs’ Counsel intend to comply with Local Rule 39.01, and will seek leave of

court if circumstances arise by January 2020 and/or during trial that make participation of all

counsel during all phases of trial impractical.

       7. Questioning of Experts Regarding What They Would Do.

       The Plaintiffs oppose this Motion because examination regarding an expert’s personal

practice is relevant, and should not be excluded per Rule 403.

       Although an expert’s personal practice is not tantamount to or defining of the standard of

care, it can serve as a basis for the expert’s standard of care opinions and can also be highly relevant

to assessing the credibility of his/her opinions regarding what most reputable physicians do.

Additionally, if Defendant’s experts do not practice what they preach, the jury needs to hear this.




Case 3:17-cv-00725          Document 134          Filed 12/21/18      Page 2 of 6 PageID #: 1793
         Any “prejudice” the Defendants fear regarding confusion of the issues can be addressed

with an appropriate jury instruction. TPI § 6.18 provides, in part, “The testimony of a physician as

to what that physician personally would do or would not do or the personal opinion of a physician

of what should or could not have been done does not prove the standard of medical practice.”

Tennessee courts provide this instruction because testimony from experts about what they would

personally do is routinely presented at trial – as relevant, but not dispositive of the standard of care

issue.

         8. Precluding “Any Suggestion” of a Presumption of Negligence Due to Injury.

         The Plaintiffs oppose this aspect of the Motion because it is extremely vague and better

addressed by providing the jury an appropriate instruction.

         Defendant asks the Court to enter an order precluding “any suggestion” that Mr. Ruffino’s

injuries create a presumption of negligence. The parameters of argument, comment or testimony

disallowed by this order would be so unclear that such an order would not provide fair notice to

the Plaintiffs as to what will actually be allowed and disallowed at trial.

         Plaintiffs submit that the Defendant’s concern is better addressed by providing the jury

with an instruction such as TPI 6.12:

         By undertaking treatment a physician does not guarantee a good result. A physician
         is not negligent merely because of an unsuccessful result or an error in judgment.
         An injury alone does not raise a presumption of the physician's negligence. It is
         negligence, however, if the error of judgment or lack of success is due to a failure
         to have and use the required knowledge, care and skill as defined in these
         instructions.

         9. Precluding “Medical Opinions” from Lay Witnesses.

         The Plaintiffs agree with this aspect of the Motion in general, including because Plaintiffs

filed a similar motion (Plaintiffs’ #14).




Case 3:17-cv-00725          Document 134         Filed 12/21/18       Page 3 of 6 PageID #: 1794
        However, the Plaintiffs disagree with the specific applications of Rule 701 suggested by

Defendant as precluding lay witness testimony about Mr. Ruffino’s “alleged current deficits,”

“capabilities before and after February 17, 2016,” or Mr. Ruffino’s current or future needs. This

application of the Motion should be denied, or at least reserved at this time, because “[a] lay

witness may testify to his own physical condition or that of another person provided that the

witness first states the detailed facts and then gives his opinion or conclusion.” Simpson v.

Satterfield, 564 S.W.2d 953, 956 (Tenn. 1978) (quoting McKenzie v. Campbell and Dann

Manufacturing Co., 209 Tenn. 475, 354 S.W.2d 440 (1962); see also American Enka Corp. v.

Sutton, 216 Tenn. 228, 391 S.W.2d 643, 648 (Tenn. 1965) (“Lay testimony is competent to

establish such simple but important matters as existence of pain, its location, inability to work, etc.

….”).

        10. Exclude Expert Testimony Regarding Life Expectancy.

        The Plaintiffs do not claim that Defendant’s negligence shortened Mr. Ruffino’s life

expectancy. No expert will testify otherwise. Plaintiff’s experts will testify to the injuries Mr.

Ruffino sustained that could have been avoided and/or mitigated if appropriate care were provided.

        The Plaintiff intends to present evidence of Mr. Ruffino’s life expectancy primarily through

the Tennessee life expectancy / mortality table. Mortality tables provide an admissible and

“reasonable” means by which a jury might calculate wrongful death damages. Hall v. Stewart,

2007 Tenn. App. LEXIS 60, *20, 2007 WL 258406 (Tenn. Ct. App. Jan. 31, 2007). The

admissibility of a life expectancy table is not contingent upon any testimony from an expert that

the data from the life expectancy table would have applied to the decedent or that the decedent’s

health was average. Id.




Case 3:17-cv-00725          Document 134         Filed 12/21/18      Page 4 of 6 PageID #: 1795
       11. Preclude Mention of Plaintiff’s Lawyers Background / Practice History.

       The Plaintiffs opposes this aspect of the Motion to the extent it relates to introduction of

Plaintiffs’ attorneys and their backgrounds during voir dire. Such information is not a “personal

opinion” about the case in violation of Rule 3.4(e), and there is no other basis for excluding such

information.

       At this time, Plaintiffs agree that it would not be admissible to introduce evidence or elicit

testimony regarding Plaintiffs’ Counsel’s backgrounds during trial. However, the Defendants

could open the door to this information if the Defendant makes the background of the Plaintiffs’

counsel relevant, including by pursuing a line of questioning of Plaintiffs’ experts suggesting that

they exclusively or predominantly with “plaintiffs” lawyers.




                                              RESPECTFULLY SUBMITTED,



                                               s/ Mark Hammervold
                                              Brian Cummings, #19354
                                              Cummings Law
                                              4235 Hillsboro Pike, #300
                                              Nashville, TN 37215
                                              Phone: 615-800-6822
                                              Fax: 615-815-1876
                                              brian@cummingsinjurylaw.com

                                              Mark Hammervold, #31147
                                              Hammervold, PLC
                                              315 Deaderick Street, Suite 1550
                                              Nashville, TN 37238
                                              (615) 928-2466 (phone)
                                              (615) 928-2264 (fax)
                                              mark@hammervoldlaw.com

                                              Attorneys for Plaintiffs




Case 3:17-cv-00725         Document 134        Filed 12/21/18      Page 5 of 6 PageID #: 1796
                                 CERTIFICATE OF SERVICE


        I certify that I served all parties in this matter through counsel of record listed below with
the foregoing by CM/ECF on December 21, 2018:

         James E. Looper, Jr.
         Hall Booth Smith, PC
         Fifth Third Center
         424 Church Street, Suite 2950
         Nashville, TN 37219
         (615) 313-9911 (phone)
         (615) 313-8008 (fax)
         jlooper@hallboothsmith.com

         Counsel for the Defendant
         Dr. Clark Archer


                                                      s/ Mark Hammervold
                                                      Mark Hammervold




Case 3:17-cv-00725          Document 134        Filed 12/21/18      Page 6 of 6 PageID #: 1797
